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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN



 JESSICA MONTANEZ, individually and on behalf of                             CLASS ACTION
 all others similarly situated,
                                                                         Case No. 1:21-cv-00235
       Plaintiff,
                                                                       JURY TRIAL DEMANDED
 vs.

 GREEN PEAK INDUSTRIES LLC d/b/a
 SKYMINT, a Michigan Limited Liability Company,

   Defendant.
 ______________________________________/

                              AMENDED CLASS ACTION COMPLAINT

           1.       Plaintiff, Jessica Montanez, brings this action against Defendant, Green Peak

Industries LLC d/b/a Skymint, to secure redress for violations of the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227.

                                        NATURE OF THE ACTION

           2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq., (the “TCPA”).

           3.       Defendant is a cannabis dispensary chain. To promote its services, Defendant engages

in unsolicited marketing, harming thousands of consumers in the process.

           4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct,

which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

of thousands of individuals. Plaintiff also seeks statutory damages on behalf of herself and members of

the class, and any other available legal or equitable remedies.
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                                    JURISDICTION AND VENUE

        5.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

which will result in at least one class member belonging to a different state than that of Defendant.

Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

jurisdiction are present.

        6.      Venue is proper in the United States District Court for the Western District of Michigan

pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

its services within this district thereby establishing sufficient contacts to subject it to personal

jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of

Michigan and, on information and belief, Defendant has sent the same text messages complained of by

Plaintiff to other individuals within this judicial district, such that some of Defendant’s acts in making

such calls have occurred within this district, subjecting Defendant to jurisdiction in the State of

Michigan.

                                                PARTIES

        7.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

Knox County, Tennessee.

        8.      Defendant is a Michigan limited liability company whose principal office is located at

10070 Harvest Park, Dimondale, Michigan 48825. Defendant directs, markets, and provides its business

activities throughout the State of Michigan.
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                                                 FACTS

        9.      Over the past year, Defendant sent numerous telemarketing text messages to Plaintiff’s

cellular telephone number ending in 6002 (the “6002 Number”) including but not limited to the

following:




        10.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and within

the time frame relevant to this action.

        11.     Defendant’s text messages constitute telemarketing because they encouraged the future

purchase or investment in property, goods, or services, i.e., selling Plaintiff cannabis products.

        12.     The information contained in the text message advertises Defendant’s sales and

promotions, which Defendant sends to promote its business.

        13.     Defendant sent or caused to be sent the subject texts from within this judicial district

and, therefore, Defendant’s violation of the TCPA occurred within this district. Upon information and
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belief, Defendant caused other text messages to be sent to individuals residing within this judicial

district.

            14.   Defendant’s texts were not made for an emergency purpose or to collect on a debt

pursuant to 47 U.S.C. § 227(b)(1)(B).

            15.   At no point in time did Plaintiff provide Defendant with her express written consent to

be contacted.

            16.   Plaintiff is the subscriber and sole user of the 6002 Number, and is financially

responsible for phone service to the 6002 Number.

            17.   Plaintiff has been registered with the national do-not-call registry since April 23, 2011.

            18.   The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons who

do not wish to receive telephone solicitations that is maintained by the federal government.

            19.   The text messages originated from telephone numbers 256-448-2699, 213-338-8965,

and 218-400-1392, all numbers which upon information and belief are owned and operated by or on

behalf of Defendant.

            20.   Defendant’s unsolicited text messages caused Plaintiff actual harm, including

invasion of her privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

Defendant’s text messages also inconvenienced Plaintiff and caused disruption to her daily life.

                                        CLASS ALLEGATIONS

            PROPOSED CLASS

            21.   Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

herself and all others similarly situated.

            22.   Plaintiff brings this case on behalf of a Class defined as follows:
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                     Do Not Call Registry Class: All persons in the United
                     States who from four years prior to the filing of this action
                     (1) were sent a text message by or on behalf of Defendant;
                     (2) more than one time within any 12-month period; (3)
                     where the person’s telephone number had been listed on
                     the National Do Not Call Registry for at least thirty days;
                     (4) for the purpose of selling Defendant’s products and
                     services; and (5) for whom Defendant claims (a) it did not
                     obtain prior express written consent, or (b) it obtained
                     prior express written consent in the same manner as
                     Defendant claims it supposedly obtained prior express
                     written consent to call the Plaintiff.

        23.      Defendant and its employees or agents are excluded from the Class. Plaintiff does not

know the number of members in the Class, but believes the Class members number in the several

thousands, if not more.

           NUMEROSITY

        24.      Upon information and belief, Defendant has placed automated and/or prerecorded calls

to cellular telephone numbers belonging to thousands of consumers throughout the United States

without their prior express consent. The members of the Class, therefore, are believed to be so numerous

that joinder of all members is impracticable.

        25.      The exact number and identities of the Class members are unknown at this time and can

only be ascertained through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendant’s call records.

              COMMON QUESTIONS OF LAW AND FACT

        26.      There are numerous questions of law and fact common to the Class which predominate

over any questions affecting only individual members of the Class. Among the questions of law and

fact common to the Class are:

                     (1) Whether Defendant violated 47 C.F.R. § 64.1200(c);

                     (2) Whether Defendant’s conduct was knowing and willful;

                     (3) Whether Defendant violated the privacy rights of Plaintiff and members of the
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                         class;

                     (4) Whether Defendant is liable for damages, and the amount of such damages; and

                     (5) Whether Defendant should be enjoined from such conduct in the future.

        27.     The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

being efficiently adjudicated and administered in this case.

              TYPICALITY

        28.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

on the same factual and legal theories.

              PROTECTING THE INTERESTS OF THE CLASS MEMBERS

        29.     Plaintiff is a representative who will fully and adequately assert and protect the interests

of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.

              PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

        30.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

        31.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,
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one court might enjoin Defendant from performing the challenged acts, whereas another may not.

Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                            COUNT I
                           Violation of the TCPA, 47 U.S.C. § 227
                   (On Behalf of Plaintiff and the Do Not Call Registry Class)

         32.    Plaintiff repeats and realleges the paragraphs 1 through 31 of this Complaint and

incorporates them by reference herein.

         33.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber who has

registered his or her telephone number on the national do-not-call registry of persons who do not wish

to receive telephone solicitations that is maintained by the federal government.”

         34.    47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any person

or entity making telephone solicitations or telemarketing calls to wireless telephone numbers.”1

         35.    47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any call

for telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing calls

made by or on behalf of that person or entity.”

         36.    Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this subsection

may” may bring a private action based on a violation of said regulations, which were promulgated to

protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object. 47 U.S.C. § 227(c).




1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
153A1.pdf
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          37.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry Class

members who registered their respective telephone numbers on the National Do Not Call Registry, a

listing of persons who do not wish to receive telephone solicitations that is maintained by the federal

government.

          38.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call Registry

Class received more than one telephone call in a 12-month period made by or on behalf of Defendant

in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s conduct as alleged

herein, Plaintiff and the Do Not Call Registry Class suffered actual damages and, under section 47

U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R.

§ 64.1200.

          39.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages recoverable by

the members of the Do Not Call Registry Class.

                                         PRAYER FOR RELIEF
          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

relief:

    a) An order certifying this case as a class action on behalf of the Class as defined above, and

          appointing Plaintiff as the representative of the Class and counsel as Class Counsel;

    b) An award of actual and statutory damages for Plaintiff and each member of the Class;

    c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

    d) An injunction requiring Defendant to cease all unsolicited text messaging activity, and to

          otherwise protect the interests of the Class;

    e) Such further and other relief as the Court deems necessary.
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                                         JURY DEMAND

         Plaintiff and Class Members hereby demand a trial by jury.

                           DOCUMENT PRESERVATION DEMAND

       Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

databases or other itemizations associated with the allegations herein, including all records, lists,

electronic databases or other itemizations in the possession of any vendors, individuals, and/or

companies contracted, hired, or directed by Defendant to assist in sending the alleged communications.




Dated: May 12, 2021

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